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                               UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

________________________________________________
                                                )                             CIVIL ACTION
SECURITIES AND EXCHANGE COMMISSION,             )
                                                )                             Case No. 3:19-cv-04241-JD
                        Plaintiff,              )
                                                )
                  v.                            )
                                                )
FACEBOOK, INC,                                  )
                                                )
                        Defendant.              )
________________________________________________)

                     THE DISTRIBUTION AGENT’S NINTH STATUS REPORT

        RCB Fund Services, LLC (“RFS”), the Distribution Agent1 in the above-captioned
matter, respectfully submits this ninth status report, pursuant to Paragraph 91 of the Distribution
Plan for the Facebook Fair Fund (the “Plan”), which was approved by this Court on April 25,
2022. This Court’s August 17, 2020 Order appointed RFS as the Distribution Agent to
administer and distribute the Facebook Fair Fund (the “Fair Fund”). The Plan requires that the
Distribution Agent provide to the U.S. Securities and Exchange Commission (“SEC”) staff
quarterly status reports for filing with the Court. This status report details the progress that has
been made from July 1, 2024 through September 30, 2024.


       1. The Distribution Agent’s Progress During This Period

           Since the eighth status report, RFS has performed the following tasks:

           ➢ Reviewed claim submissions. RFS has now completed the review of over 702,000
             claim submissions and all related supporting documentation involving more than 40
             million transactions in Facebook common stock from Preliminary Claimants;

           ➢ Responded to inquiries from Preliminary Claimants and their representatives
             regarding the claims process;

           ➢ Worked with banks, brokers and third-party filing firms to correct and finalize the
             electronic submissions to the Fair Fund;

           ➢ Worked with the SEC to address various processing and eligibility issues; and



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    All capitalized terms not otherwise defined herein shall have the meaning provided in the Plan.

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       ➢ Received and responded to phone calls and emails from investors in FB common
         stock. RFS has now received and responded to 6,830 phone calls and 8,380 emails
         from FB investors; and

       ➢ Monitored and maintained the toll-free number, email account, and case website.

   2. RFS’s Anticipated Next Steps

       After the filing of this status report, RFS expects it will continue to implement the Plan,
including:

       ➢ Complete the review of the remaining claim submissions;

       ➢ Send Claim Status Notices to all Preliminary Claimants notifying them of the status
         of their claim;

       ➢ Send Claim Status Notices to a group of 180,000 claims submitted by a single third-
         party filing firm on behalf of a financial institution and its clients;

       ➢ Review deficiency responses from Preliminary Claimants;

       ➢ Continue to maintain and monitor the toll-free number, email account and case
         website;

       ➢ Respond to inquiries from Preliminary Claimants;

       ➢ Correspond with banks, brokers and third-party filing firms regarding their electronic
         claim filings on behalf of their clients; and

       ➢ File its next status report within thirty (30) days after the end of the next quarter
         pursuant to the Plan.


Dated: October 14, 2024


                                              Respectfully submitted,


                                              By: _______/s/_____________

                                              Brendan J. Manfreda
                                              Managing Director
                                              RCB Fund Services, LLC
                                              Distribution Agent
                                              bmanfreda@breedenco.com

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